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             Appellate Division of the Supreme Court
                       of the State of New York
                     Second Judicial Department


        I, Darrell M. Joseph, Clerk of the Appellate Division of the
  Supreme Court of the State of New York, Second Judicial
  Department, do hereby certify that

                             Sidra Mahfooz
  was duly licensed and admitted to practice as an Attorney and
  Counselor at Law in all the courts of this State on April 18, 2020,
  has duly taken and subscribed the oath of office prescribed by law,
  has been enrolled in the Roll of Attorneys and Counselors at Law
  on file in this office, is duly registered with the Office of Court
  Administration, and        according to the records of this Court is
  currently in good standing as an Attorney and Counselor-at-Law.



                               In Witness Whereof, I have hereunto set
                               my hand in the City of Brooklyn on
                               March 13, 2025.




                                     Clerk of the Court


  CertID-00219936
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                                          556
                                    Appellate Division
                           Supreme Court of the State of New York
                                Second Judicial Department
                                     45 Monroe Place
                                  Brooklyn, N.Y. 11201
                                          (718) 875-1300
   HECTOR D. LASALLE                                                       KENNETH BAND
     PRESIDING JUSTICE                                                   MELISSA KRAKOWSKI
                                                                              DEPUTY CLERKS
   DARRELL M. JOSEPH
    CLERK OF THE COURT                                                      WENDY STYNES
                                                                           LAUREN G. DOME
                                                                          BRIAN E. KENNEDY
                                                                             January
                                                                           RIAD        7, 2005
                                                                                P. WILLIAMS
                                                                         ASSOCIATE DEPUTY CLERKS

  To Whom It May Concern


        An attorney admitted to practice by this Court may request a certificate of
  good standing, which is the only official document this Court issues certifying to an
  attorney's admission and good standing.


         An attorney's registration status, date of admission and disciplinary history
  may be viewed through the attorney search feature on the website of the Unified
  Court System.


          New York State does not register attorneys as active or inactive.


        An attorney may request a disciplinary history letter from the Attorney
  Grievance Committee of the Second Judicial Department.


        Bar examination history is available from the New York State Board of Law
  Examiners.


          Instructions, forms and links are available on this Court's website.




                                                    Darrell M. Joseph
                                                    Clerk of the Court




  Revised October 2024
